Case 23-18993-MBK             Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                               Desc Main
                                      Document    Page 1 of 11



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1 (b)

 FOLEY & LARDNER LLP
 Marcella M. Jayne, Esq.
 90 Park Avenue
 New York, NY 10016-1314
 Tel: (212) 682-7474
 Fax: (212) 687-2329
 mjayne@foley.com

 Counsel for CVS Pharmacy, Inc., CaremarkPCS
 Health, L.L.C. and Caremark, L.L.C.

 In re:                                                          Case No. 23-18993 (MBK)

 RITE AID CORPORATION, et al., 1                                 Chapter 11

                          Debtors.                               Hearing Date: June 20, 2024


     JOINT REPLY OF CERTAIN PHARMACIES TO (A) MEDIMPACT HEALTHCARE
     SYSTEMS, INC.’S RESERVATION OF RIGHTS; AND (B) DEBTORS’ OBJECTION
           TO JOINT MOTION OF CERTAIN PHARMACIES FOR AN ORDER
         MODIFYING THE AUTOMATIC STAY TO ALLOW THE PHARMACIES
           TO TERMINATE PHARMACY CONTRACTS WITH THE DEBTORS

            CVS Pharmacy, Inc. (“CVS”), Walgreen Co. and its affiliates (“Walgreens”), and Walmart

 Inc. f/k/a Wal-Mart Stores, Inc., Sam’s East, Inc., and Sam’s West, Inc. (“Walmart” and

 collectively with CVS and Walgreens, the “Pharmacies”), by and through their respective

 undersigned counsel, 2 hereby file this reply (the “Reply”) in support of their motion to modify the




 1
          The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of
 the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
 Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases
 is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
 2
           Each of the Pharmacies joining in this Motion is represented by separate counsel, and they each hereby join
 in the relief requested herein in their separate capacities. Certain factual statements set forth herein may not apply to
 all Pharmacies, and each Pharmacy joins in arguments only to the extent applicable. Other than as reflected in this

 11439763
Case 23-18993-MBK            Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                              Desc Main
                                     Document    Page 2 of 11



 automatic stay to terminate Pharmacy Contracts with the Debtors [Docket No. 3384] (the

 “Motion”), and in response to (A) MedImpact Healthcare Systems, Inc.’s Reservation of Rights

 with respect to the Motion [Docket No. 3662] (the “MedImpact RoR”); and (B) the Debtors’

 Objection to the Motion [Docket No. 3832] (the “Debtors’ Objection”). In support of the Reply,

 the Pharmacies respectfully state as follows: 3

                                                  STATEMENT

          1.       As discussed in the Motion, as of the Debtors’ bankruptcy filing, the Pharmacies

 were parties to pharmacy benefit management contracts with Elixir (collectively, the “Pharmacy

 Contracts”). The fundamental nature of the Pharmacy Contracts and the economics of the business

 relationship between the Pharmacies and Elixir provide that the Pharmacies are underpaid when

 Elixir remits payment on a particular prescription claim filled by one of the Pharmacies. The

 Pharmacies are only made whole after the fact, through a variety of reimbursement and

 reconciliation programs that occur at the ends of fiscal years or fiscal quarters e.g.,

 DIR/BER/GER/reconciliation (collectively, the “Subsequent Pharmacy Payments”).                                 Those

 Subsequent Pharmacy Payments are crucial to the Pharmacies being fully compensated under the

 Pharmacy Contracts.

          2.       On February 1, 2024 (the “Closing Date”), the Debtors closed the sale of Elixir’s

 operating assets to MedImpact. The Debtors are generally correct that, prior to the Closing Date,

 Elixir was operating in the ordinary course of business with respect to the Pharmacies. To the best

 of the Pharmacies’ knowledge, Elixir generally remitted payment on claims as required by the




 Motion, no Pharmacy acts, represents, or speaks on behalf of (or purports to act, represent, or speak on behalf of) any
 other Pharmacy or any other entities in connection with these Chapter 11 Cases.

 3
          Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.

                                                           2
Case 23-18993-MBK             Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                                Desc Main
                                      Document    Page 3 of 11



 contracts. 4

          3.       Notwithstanding the occurrence of the Closing Date and MedImpact’s subsequent

 operation of Elixir’s pharmacy benefits management (“PBM”) business, the Pharmacy Contracts

 remain unassumed and unassigned four and a half months later. Furthermore, based on the timing

 of the Closing Date, significant post-fiscal year or post-fiscal quarter Subsequent Pharmacy

 Payments were not yet due and payable as of the Closing Date, but came due in the months that

 followed. All of the Subsequent Pharmacy Payments identified in the Motion have already become

 payable or will become payable by June 30, 2024.

          4.       Indeed, as set forth in the Motion, Exhibits C-E, Elixir owes the Pharmacies tens of

 millions of dollars in Subsequent Pharmacy Payments. 5 Nevertheless, none of the post-Closing

 Date Subsequent Pharmacy Payments have been paid, exposing the Pharmacies to significant

 harm.

          5.       In the Objection, the Debtors state that “[a]t the time of the entry of the Sale Order,

 the Debtors agreed with the Pharmacies and MedImpact to defer assumption and assignment of

 these PPAs to facility timely entry of the Sale Order and Closing while the parties worked towards

 a consensual resolution of these issues . . . See Sale Order, ¶F.” (Objection, Paragraph 9). While

 the Debtors are correct that the Pharmacies consented to entry of the Sale Order prior to resolution


 4
           For Walmart and Walgreens, their Pharmacy Contracts are “pay when paid” meaning that Elixir is required
 to remit payment to them within a certain number of days after Elixir received payment from a plan sponsor. While
 Walmart and Walgreens do not know when Elixir received funds, the cadence of payments and aging of balances did
 not deviate from established course of conduct. For CVS, which was paid within a certain number of days of a claim
 arising (regardless of if a plan sponsor had already paid Elixir), Elixir in large part maintained the same general course
 of payment conduct and compliance with contractual requirements. That said, as of the Closing Date, there were (a)
 certain claim amounts due to CVS that Elixir did not pay within the 30-day window for commercial claims and the
 14-day window for Medicare claims, and (b) Elixir owed CVS certain unreimbursed tax amounts, as set forth in the
 Motion.

 5
           As reflected in Exhibits C-E, certain amounts were estimates as of the filing of the Motion and,
 subsequently, have been fixed in amounts different from those listed in the Motion. However, the general principle
 that there are tens of millions of dollars in obligations that have come due since the Closing Date – or will come due
 by June 30, 2024 – is unchanged.

                                                             3
Case 23-18993-MBK        Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                Desc Main
                                 Document    Page 4 of 11



 of their cure claims, the Pharmacies never consented to extend consideration of the Debtors’ cure

 obligations beyond the Closing Date. Instead, this outcome was unilaterally imposed upon them

 when the Debtors and MedImpact elected to close without assuming and assigning the Pharmacy

 Contracts in accordance with the requirements of § 365 of the Bankruptcy Code. Not only was

 this decision not authorized by paragraph F of the Sale Order, it was directly contrary to that

 provision. Paragraph F of the Sale Order states:

        [W]ith respect to the objections filed by CVS Pharmacy, Inc. and certain affiliates
        (“CVS”), Walmart Inc. f/k/a Wal-Mart Stores Inc. and certain of its subsidiaries,
        including but not limited to Sam’s East, Inc. and Sam’s West, Inc. (“Walmart”),
        Walgreen Co., (“Walgreens” and collectively with CVS and Walmart, the
        “Pharmacies”) at Docket Nos. 1243, 1244, and 1380, respectively (collectively, the
        “Pharmacies’ Objections”), the Pharmacies’ Objections and the issues with respect
        to assumption and assignment of the Pharmacies’ contracts and cure amounts, are
        hereby adjourned until, absent consensual resolution of the Pharmacies’ Objection,
        a hearing to occur at a time to be agreed between the Debtors and the Pharmacies,
        but in any event no later than the Closing date.

 Sale Order, ¶ F (emphasis supplied).

        6.       Furthermore, while the Pharmacies were subsequently assured by MedImpact’s

 counsel that they would be paid everything that they were owed and that they just needed to

 provide the Debtors and MedImpact time to work through their issues, MedImpact has

 subsequently reversed course and disclaimed any obligation to pay the Subsequent Pharmacy

 Payments that have come due post-closing. Consequently, the amount of defaults under the

 Pharmacy Contracts that must be cured is now many millions of dollars higher than it was on the

 Closing Date.

        7.       Section 365(b)(1)(A) of the Bankruptcy Code explicitly requires the Debtors to

 either cure all defaults under the Pharmacy Agreements at the time of their assumption and

 assignment or to provide adequate assurance of a prompt cure. 11 U.S.C. § 365(b)(1)(A). The

 decision of MedImpact and the Debtors to close their transaction without regard to this requirement


                                                    4
Case 23-18993-MBK        Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                 Desc Main
                                 Document    Page 5 of 11



 has placed the Pharmacies in this untenable situation -- having contracts with a party that is not

 able to perform under those contracts and having to do business with a third party that is not yet a

 party to the contracts under which the Pharmacies are expected to perform. This shadow, “quasi-

 assignment” of the Pharmacy Contracts without adherence to the requirements of section

 365(b)(1)(A), is antithetical to the Bankruptcy Code and exposes the Pharmacies to continuing

 harm, almost five months after the Debtors should have complied with all obligations upon

 assumption and assignment of the Pharmacy Contracts.

        8.      While MedImpact has refused to pay the Subsequent Pharmacy Payments as they

 became due following the Closing Date, the Debtors claim that they lack the funds with which to

 pay those amounts. They have been loud and clear that their liquidity is exhausted and they require

 emergency financing just to bridge to confirmation of a plan and their exit from chapter 11. The

 Debtors do not deny that there is not one dollar allocated in their exit financing to pay the many

 millions of dollars now due to the Pharmacies.

                                              REPLY

        9.      For the reasons set forth above and in the Motion, cause exists for relief from the

 automatic stay to allow the Pharmacies to terminate the Pharmacy Contracts.

        10.     The Debtors’ failure to assign the Pharmacy Contracts to MedImpact and refusal or

 inability to cure all defaults thereunder, coupled with MedImpact’s refusal to pay the Subsequent

 Pharmacy Payments as they have come due, has subjected the Pharmacies to actual pecuniary loss

 and a continuing risk of additional, substantial pecuniary loss.

        11.     Without assignment of the Pharmacy Contracts in accordance with § 365 of the

 Bankruptcy Code, MedImpact does not have the legal contractual right to performance under those

 contracts. While the Pharmacies have permitted MedImpact to act in Elixir’s stead pending

 resolution of the assumption and cure issues, the additional defaults with respect to the unpaid

                                                  5
Case 23-18993-MBK           Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                 Desc Main
                                    Document    Page 6 of 11



 Subsequent Pharmacy Payments have harmed the Pharmacies.                    In the MedImpact RoR,

 MedImpact provides no assurances that payment of these amounts will ever be forthcoming, and

 takes no position at all on the termination of the Pharmacy Contracts. This undermines any

 confidence that the Pharmacies will ever receive the full performance to which they are due under

 the Pharmacy Contracts and leaves the Pharmacies far short of the adequate assurance of both

 prompt cure and future performance that are prerequisites to the Debtors’ ability to assume and

 assign the Pharmacy Contracts. At the same time, the Debtors no longer have the ability to perform

 under the contracts, as they no longer have a PBM business.

         12.        With the automatic stay in place and their contracts remaining with the Debtors, the

 Pharmacies are unable to exercise the remedies available in the Pharmacy Contracts to address the

 failures of performance by MedImpact and the Debtors, and will continue to be so prejudiced

 absent relief from stay. They are owed tens of millions of dollars in Subsequent Pharmacy

 Payments that are either currently past due or will be due by June 30. At the same time, additional

 Subsequent Pharmacy Payment obligations continue to accrue while the Debtors and MedImpact

 are forcing the Pharmacies to bear the economic toll of a contract dispute to which the Pharmacies

 are not a party.

         13.        While the Debtors correctly state in the Objection that the Bankruptcy Code permits

 assumption or rejection of contracts through the confirmation date (Objection, ¶ 5), the Pharmacies

 find themselves only days away from the Debtors’ scheduled confirmation hearing. The

 Pharmacies have made repeated requests that the Debtors provide adequate assurance of prompt

 cure in the event that the Debtors are not immediately successful with respect to their Motion to

 Enforce (or if MedImpact appeals a successful result), only to have each of those requests

 rebuffed. Through the Elixir Sale, the Debtors have obtained value due in part to the promise of

 the transfer of Elixir’s business with the Pharmacies. While the Pharmacies understand that some

                                                     6
Case 23-18993-MBK       Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                Desc Main
                                Document    Page 7 of 11



 of the value promised to the Debtors has not yet been forthcoming, the Debtors should not be

 permitted to keep the Pharmacies in contractual purgatory (after doing so for over four months)

 while they litigate with MedImpact. So long as the automatic stay protects the Debtors and, by

 extension, MedImpact, from the Pharmacies’ exercise of their contractual rights and remedies, the

 Pharmacies will be exposed to risk of additional harm that is in no way provided for under the

 Bankruptcy Code.

        14.    Accordingly, relief from the automatic stay is appropriate for the reasons specified

 herein and in the Motion, absent immediate assumption and assignment of the Pharmacy Contracts

 and full payment of all amounts due thereunder.



                            [Remainder of Page Intentionally Left Blank]




                                                   7
Case 23-18993-MBK      Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02            Desc Main
                               Document    Page 8 of 11



     Dated: June 19, 2024       Respectfully submitted,
                                 /s/ Marcella M. Jayne
                                 FOLEY & LARDNER LLP
                                 Marcella M. Jayne, Esq.
                                 90 Park Avenue
                                 New York, NY 10016-1314
                                 Tel: (212) 682-7474
                                 Fax: (212) 687-2329
                                 mjayne@foley.com

                                 -and-

                                 Geoffrey S. Goodman (admitted pro hac vice)
                                 Emil P. Khatchatourian (admitted pro hac vice)
                                 321 N. Clark Street, Suite 3000
                                 Chicago, Illinois 60654-4762
                                 Tel: (312) 832-4500
                                 Fax: (312) 832-4700
                                 E-mail: ggoodman@foley.com
                                 Email: ekhatchatourian@foley.com

                                 Counsel for CVS Pharmacy, Inc.

                                 /s/ Joseph D. Frank
                                 FRANKGECKER LLP
                                 Joseph D. Frank (admitted pro hac vice)
                                 1327 W. Washington Blvd., Suite 5 G-H
                                 Chicago, Illinois 60607
                                 Telephone: (312) 276-1400
                                 Facsimile: (312) 276-0035
                                 Email: jfrank@fgllp.com
                                 Counsel for Walgreen Co., and its Affiliates and Subsidiaries.

                                 /s/ Jeremy W. Ryan
                                 POTTER ANDERSON & CORROON LLP
                                 Jeremy W. Ryan (admitted pro hac vice)
                                 R. Stephen McNeill (admitted pro hac vice)
                                 1313 North Market Street, 6th Floor
                                 Wilmington, Delaware 19801
                                 Telephone: (302) 984-6000
                                 Facsimile: (302) 658-1192
                                 Email: jryan@potteranderson.com
                                 Email: rmcneill@potteranderson.com

                                 Counsel for Walmart Inc. and Related Entities


 11439763
Case 23-18993-MBK        Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02                Desc Main
                                 Document    Page 9 of 11




                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2024, a true and correct copy of the foregoing JOINT REPLY
 OF CERTAIN PHARMACIES TO (A) MEDIMPACT HEALTHCARE SYSTEMS, INC.’S
 RESERVATION OF RIGHTS; AND (B) DEBTORS’ OBJECTION TO JOINT MOTION
 OF CERTAIN PHARMACIES FOR AN ORDER MODIFYING THE AUTOMATIC STAY
 TO ALLOW THE PHARMACIES TO TERMINATE PHARMACY CONTRACTS WITH
 THE DEBTORS was sent via ECF Noticing to all parties receiving ECF Notices in these chapter
 11 cases and upon the parties below as indicated:

  VIA U.S. MAIL                                      VIA EMAIL:

  Rite Aid Corporation,                              Office of the United States Trustee
  1200 Intrepid Avenue, 2nd Floor                    United States Trustee, Region 3
  Philadelphia, Pennsylvania 19112                   One Newark Center
                                                     1085 Raymond Blvd., Suite 2100
                                                     Newark, NJ 07102-5504
                                                     Attn: Jeffrey M. Sponder and Lauren Bielskie
                                                     Jeffrey.m.sponder@usdoj.gov
                                                     lauren.bielskie@usdoj.gov

                                                     U.S. Trustees’ Counsel

  VIA EMAIL:                                         VIA EMAIL:

  Kirkland & Ellis LLP                               Cole Schotz, P.C.
  601 Lexington Avenue                               25 Main Street
  New York, NY 10022                                 Hackensack, NJ 07601
  Attention: Edward O. Sassower, P.C.;               Attention: Michael D. Sirosta, Esq.;
  Joshua A. Sussberg, P.C.; Aparna                   Warren A. Usatine, Esq.; Felice R. Yudkin,
  Yenamandra, P.C.; Ross J. Fiedler; Zachary         Esq.; Seth Van Aalten, Esq.
  R. Manning                                         msirota@coleschotz.com
  esassower@kirkland.com                             wusatine@coleschotz.com
  joshua.sussberg@kirkland.com                       fyudkin@coleschotz.com
  aparna.yenamandra@kirkland.com                     svanaalten@coleschotz.com
  ross.fiedler@kirkland.com
  zach.manning@kirkland.com                          Counsel to the Debtors

  Counsel for the Debtors

  VIA U.S. MAIL                                      VIA EMAIL:

  MedImpact                                          DLA Piper LLP (US)
  10181 Scripps Gateway Ct                           51 John F. Kennedy Parkway, Suite
  San Diego, California 92131                        120 Short Hills, New Jersey 07078

                                                 9
Case 23-18993-MBK      Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02              Desc Main
                              Document    Page 10 of 11



                                                 Attention: Stuart M. Brown; Matthew S.
                                                 Sarna; Richard A. Chesley
                                                 stuart.brown@us.dlapiper.com
                                                 matthew.sarna@us.dlapiper.com
                                                 richard.chesley@us.dlapiper.com

                                                 Counsel to MedImpact Healthcare Systems,
                                                 Inc.


   VIA EMAIL:                                    VIA EMAIL:

  Kramer Levin Naftalis & Frankel LLP            Choate, Hall & Stewart LLP
  1177 Avenue of the Americas                    Two International Place
  New York, NY 10036                             Boston, MA 02110
  Attention: Adam Rogoff; Rachael Ringer;        Attn: John F. Ventola; Jonathan D. Marshall;
  Megan Wasson; Rose Bagley                      Mark D. Silva
  arogoff@kramerlevin.com
  rringer@kramerlevin.com                        jventola@choate.com
  mwasson@kramerlevin.com                        jmarshall@choate.com
  rbagley@kramerlevin.com                        msilva@choate.com

  Counsel to the Committees                      Counsel to DIP Agents


  VIA EMAIL:                                     VIA EMAIL:

  Kelley Drye & Warren LLP                       Akin Gump Strauss Hauer & Feld LLP
  One Jefferson Road, 2nd Floor                  One Bryant Park
  Parsippany, NJ 07054                           New York, NY 10036
  Attention: James S. Carr; Robert L. LeHane;    Attn: Arik Preis; Mitchell P. Hurley; Kate
  Kristin S. Elliott                             Doorley; Theodore James Salwen; Brooks
  jcarr@kelleydrye.com                           Barker
  rlehane@kelleydrye.com                         apreis@akingump.com
  kelliott@kelleydrye.com                        mhurley@akingump.com
                                                 kdoorley@akingump.com
  Counsel to the Committees                      jsalwen@akingump.com
                                                 bbarker@akingump.com

                                                 Counsel to the Committees
  VIA EMAIL:
                                                 VIA EMAIL:
  Sherman, Silverstein, Kohl, Rose &
  Podolsky, P.A.                                 Greenberg Traurig, LLP
  308 Harper Drive, Suite 200                    500 Campus Drive, Suite 400
  Moorestown, NJ 08057                           Florham Park, NJ 07932
  Attn: Arthur J. Abramowitz; Ross J. Switkes    Attn: Alan J. Brody, Esq.

                                                10
Case 23-18993-MBK     Doc 3840 Filed 06/19/24 Entered 06/19/24 22:22:02           Desc Main
                             Document    Page 11 of 11



                                              Oscar N. Pinkas, Esq.
  aabramowitz@shermansilverstein.com
  rswitkes@shermansilverstein.com             brodya@gtlaw.com
                                              pinkaso@gtlaw.com
  Counsel to the Committee
                                              Counsel to DIP Agents

  VIA EMAIL:                                  VIA EMAIL:

  Paul, Weiss, Rifkind, Wharton & Garrison    Fox Rothschild LLP
  LLP                                         49 Market Street
  1285 Avenue of the Americas                 Morristown, NJ 07960
  New York, NY 10019                          Attn: Howard A. Cohen; Joseph J. DiPasquale;
  Attn: Andrew N. Rosenberg; Brian S.         Michael R. Herz
  Hermann; Christopher Hopkins
  arosenberg@paulweiss.com                    hcohen@foxrothschild.com
  bhermann@paulweiss.com                      jdipasquale@foxrothschid.com
  chopkins@paulweiss.com                      mherz@foxrothschild.com

  Counsel to Ad Hoc Group                     Counsel to the Ad Hoc Group


                                        /s/ Marcella M. Jayne
                                        Marcella M. Jayne




                                             11
